Case 2:04-cv-02655-BBD-dkv Document 36 Filed 06/14/05 Page 1 of 2 Page|D 42

 
  

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WESTERN DISTRICT OF TENNESSEEUH Ih A!“? 8= l |
WESTERN DIVISION am

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W.D OF TN MEN.»FH!S

LAJUANA LEWIS, On behalf Of JUDGMENT IN A CIVIL CASE
Herself and all others similarly

situated

v.

EXXON MOBIL CORPORATION CASE NO: 04-2655~D

 

DECISION BY COURT. This action came to consideration before the
Court. The issues have been considered and a decision has been
rendered.

IT IS SO ORDERED A.ND ADJUDGED that in accordance with the Order Of
Dismissal entered on June 8, 2005, this cause is hereby dismissed
without prejudice.

APPROVED:

    

UNITED sTATEs DISTRICT coURT
0 HOBERT R. D| THU*LEO

 

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This notice confirms a copy of the document docketed as number 36 in
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Honorable Bernice Donald
US DISTRICT COURT

